Case 2:19-cv-04695-DMG-AGR Document 62 Filed 03/18/20 Page 1 of 9 Page ID #:317




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       County of Ventura and Noel Juarez
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   9                       UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11
  12   ROSE DIAZ; and DIMAS DIAZ,                 )   Case No. 2:19-cv-04695-DMG (AGRx)
       individually; EDITH DIAZ, JESSE            )
  13   DIAZ; DAVID CHASE and D.A.D., a            )   Honorable Dolly M. Gee
       minor by and through her guardian ad       )
  14   litem Alexis Marie Olivarez,               )
       individually and as co-successors-in-      )   DEFENDANTS COUNTY OF
  15   interest to Decedent DIMAS DIAZ JR.,       )   VENTURA AND NOEL JUAREZ’S
                                                  )   NOTICE OF APPLICATION AND
  16                  Plaintiffs,                 )   APPLICATION FOR
                                                  )   DETERMINATION OF GOOD
  17          vs.                                 )   FAITH SETTLEMENT WITH
                                                  )   PLAINTIFFS; MEMORANDUM OF
  18   COUNTY OF VENTURA, a municipal )               POINTS AND AUTHORITIES IN
       corporation; NOEL JUAREZ,                  )   SUPPORT THEREOF
  19   individually and in his official capacity )
       as a sheriff’s deputy for the Ventura      )
  20   County Sheriff’s Department and DOES )         [[Proposed] Order filed concurrently
       1-50, inclusive, individually and in their )   herewith]
  21   official capacities as agents for the      )
       Ventura County Sheriff’s Department; )
  22   and BRIAN GREEN, individually and )            Date:      April 17, 2020
       in his official capacity as California     )   Time:      9:30 a.m.
  23   Highway Patrol Officer for the             )   Courtroom: 8C
       California Highway Patrol and DOES )
  24   51-65, inclusive, individually and in      )
       their official capacities as California    )
  25   Highway Patrol Officers,                   )
                                                  )
  26                  Defendants.                 )
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Case 2:19-cv-04695-DMG-AGR Document 62 Filed 03/18/20 Page 2 of 9 Page ID #:318




   1         TO THE HONORABLE COURT, ALL INTERESTED PARTIES, AND
   2   THEIR ATTORNEYS OF RECORD:
   3         PLEASE TAKE NOTICE that, pursuant to California Code of Civil
   4   Procedure § 877.6, Defendants County of Ventura and Noel Juarez (collectively,
   5   the “County Defendants”) hereby submit their Application for a determination
   6   that their settlement with Plaintiffs Rose Diaz, Dimas Diaz, Edith Diaz, Jesse
   7   Diaz, David Chase Diaz, and D.A.D. (collectively, “Plaintiffs”) was entered into
   8   in good faith.
   9         The parties to this action are as follows:
  10                     Plaintiffs Rose Diaz, Dimas Diaz, Edith Diaz, Jesse Diaz,
  11                      David Chase Diaz, and D.A.D., individually and as co-
  12                      successors-in-interest to Decedent Dimas Diaz Jr., represented
  13                      by John L. Burris, DeWitt M. Lacey, and K. Chike Odiwe of
  14                      the Law Offices of John L. Burris, Airport Corporate Centre,
  15                      7677 Oakport Street, Suite 1120, Oakland, California 94621;
  16                     Defendants County of Ventura and Noel Juarez, represented
  17                      by Paul B. Beach, James S. Eicher, Jr., and Rocco Zambito Jr.
  18                      of Lawrence Beach Allen & Choi P.C., 100 W. Broadway,
  19                      Suite 1200, Glendale, California 91210; and
  20                     Defendant Brian Green, represented by Donna M. Dean of the
  21                      California Attorney General’s Office.
  22         The parties to the settlement are Plaintiffs and the County Defendants. The
  23   pleadings affected by the settlement are Plaintiffs’ Second Amended Complaint
  24   for Damages, filed August 12, 2019.
  25   //
  26   //
  27   //
  28   //

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Case 2:19-cv-04695-DMG-AGR Document 62 Filed 03/18/20 Page 3 of 9 Page ID #:319




   1         This Application will be based upon this Notice, the attached
   2   Memorandum of Points and Authorities, and the papers and pleadings on file with
   3   the Court in this matter.
   4
   5
   6   Dated: March 18, 2020              LAWRENCE BEACH ALLEN & CHOI, PC
   7
   8                                      By       /s/ Rocco Zambito, Jr.
   9                                               Rocco Zambito, Jr.
                                                   Attorneys for Defendants
  10                                               County of Ventura and Noel Juarez
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Case 2:19-cv-04695-DMG-AGR Document 62 Filed 03/18/20 Page 4 of 9 Page ID #:320




   1               MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.    INTRODUCTION AND BACKGROUND.
   3         This case arises from the fatal officer-involved shooting of Decedent
   4   Dimas Diaz Jr. (“Decedent”). On January 12, 2019, Ventura County Sheriff’s
   5   Office dispatch received a call providing information regarding acts of domestic
   6   violence committed by Decedent in the City of Camarillo. When Ventura County
   7   Sheriff’s Deputies arrived at the scene of the domestic violence incident,
   8   Decedent fled in a vehicle. Accordingly, Ventura County Sheriff’s Deputies, and
   9   later, California Highway Patrol Officers, pursued Decedent in their vehicles.
  10   During the pursuit, law enforcement officers from both police agencies became
  11   aware that Decedent should be considered armed and dangerous.
  12          Decedent led the law enforcement officers on a high speed pursuit for
  13   several miles, a significant portion of which took place on Highway 101.
  14   Ultimately, Decedent lost control of his vehicle and crashed into a guardrail on
  15   Highway 101 just west of the Las Virgenes/Malibu Canyon off-ramp.
  16   Subsequently, law enforcement officials stopped Highway 101 traffic behind
  17   Decedent’s vehicle and waited behind their vehicles for Decedent to surrender.
  18   However, for almost one hour after the vehicle crash, Decedent failed to
  19   surrender. During this timeframe, Decedent went in and out of his car and failed
  20   to comply with numerous lawful orders. Additionally, Decedent conveyed to
  21   officers on scene that he was armed with a handgun, while consistently
  22   concealing his right hand underneath clothing near his waistband.
  23         Decedent’s actions, consistent with being armed, placed officers at the
  24   scene in reasonable fear for their lives and/or the lives of others. Ultimately, an
  25   officer-involved shooting incident occurred. Paramedic personnel had been
  26   staged nearby throughout the stand-off and were immediately requested to move
  27   forward to render medical aid, but were unable to prevent Decedent’s death.
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Case 2:19-cv-04695-DMG-AGR Document 62 Filed 03/18/20 Page 5 of 9 Page ID #:321




   1          An investigation into this incident was conducted by the Los Angeles
   2   County Sheriff’s Department and Los Angeles County District Attorney’s Office,
   3   since the incident occurred in the County of Los Angeles. The Los Angeles
   4   County District Attorney’s Office concluded that Defendants Ventura County
   5   Sheriff’s Deputy Noel Juarez and California Highway Patrol Officer Brian Green
   6   “acted lawfully in self-defense and in defense of others when they used deadly
   7   force against Dimas Diaz, Jr.”
   8          On May 30, 2019, Plaintiffs filed suit against the County Defendants, as
   9   well as Officer Brian Green.
  10          In the instant Application, the County Defendants seek a determination that
  11   their recent settlement with Plaintiffs, in the amount of $800,000 was made in
  12   good faith. The County Defendants are seeking this determination to ensure that
  13   there is no further potential liability against them from the remaining parties or
  14   third-parties.
  15   II.    SETTLING PARTIES, TERMS OF SETTLEMENT, AND
  16          PLEADINGS AFFECTED.
  17          The parties to the settlement are Plaintiffs and the County Defendants.
  18          The County Defendants have reached a settlement in the amount of
  19   $800,000 in exchange for a dismissal with prejudice of all claims arising from the
  20   subject January 12, 2019 incident.
  21          The pleadings affected by the settlement are Plaintiffs’ Second Amended
  22   Complaint for Damages, filed August 12, 2019.
  23   III.   GOOD FAITH SETTLEMENT DETERMINATION STANDARD.
  24          California Code of Civil Procedure § 877.6 provides in pertinent part, “Any
  25   party to an action in which it is alleged that two or more parties are joint
  26   tortfeasors … shall be entitled to a hearing on the issue of the good faith of a
  27   settlement entered into by the plaintiff or other claimant and one or more alleged
  28   tortfeasors…” Federal courts in California have applied Section 877.6, holding,

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Case 2:19-cv-04695-DMG-AGR Document 62 Filed 03/18/20 Page 6 of 9 Page ID #:322




   1   “Parties can move for a determination of good faith settlement under this state
   2   law even in federal court.” Henriquez v. City of Bell, 2015 WL 13423887 at *2
   3   (C.D. Cal. 2015)(citing Fed. Savings & Loan Ins. Corp. v. Butler, 904 F.2d 505,
   4   511 (9th Cir. 1990)).
   5         The intent and policies underlying Civ. Proc. Code § 877.6 require that a
   6   number of factors be taken into account in determining the “good faith” of a
   7   settlement, including (1) a rough approximation of plaintiffs’ total projected
   8   recovery and the settlor’s proportionate liability, (2) the amount paid in
   9   settlement, (3) the allocation of settlement proceeds among plaintiffs, and (4) a
  10   recognition that a settler should pay less in settlement than he would if he were
  11   found liable after a trial. Tech-Bilt, Inc. v. Woodward-Clyde & Associates, 38
  12   Cal.3d 488, 499 (1985). Other relevant considerations include (5) the financial
  13   conditions and insurance policy limits of settling defendants and (6) the existence
  14   of collusion, fraud, or tortuous conduct aimed to injure the interests of nonsettling
  15   defendants. Id.
  16          “[A] defendant’s settlement figure must not be grossly disproportionate to
  17   what a reasonable person, at the time of the settlement, would estimate the
  18   settling defendant’s liability to be.” Torres v. Union Pacific R. Co., 157
  19   Cal.App.3d 499, 509 (1984). The party asserting the lack of good faith, who has
  20   the burden of proof on that issue, must demonstrate that the settlement is so far
  21   “out-of-the-ballpark” in relation to these factors as to be inconsistent with the
  22   equitable objectives of the statute. Tech-Bilt, Inc., 38 Cal.3d. at 499-500.
  23   IV.   THE COUNTY DEFENDANTS’ SETTLEMENT WITH
  24         PLAINTIFFS WAS MADE IN GOOD FAITH.
  25         As set forth above, the County Defendants have reached a settlement with
  26   Plaintiffs in the amount of $800,000 in exchange for the dismissal of Plaintiffs’
  27   claims against the County Defendants arising from the subject incident. This
  28   settlement is sufficient to cover the County Defendants’ proportionate share of

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Case 2:19-cv-04695-DMG-AGR Document 62 Filed 03/18/20 Page 7 of 9 Page ID #:323




   1   liability for the subject incident. Moreover, the settlement agreement was reached
   2   only after considerable arms-length negotiations between Plaintiffs and the
   3   County Defendants.
   4         On October 18, 2019, the parties appeared for a telephonic scheduling
   5   conference with the Court. (Docket Number (“Dkt No.”) 39.) During this
   6   telephonic scheduling conference, the parties agreed that in order to swiftly
   7   resolve this matter, it would be beneficial for the Court to order the parties to
   8   early mediation. Accordingly, that same day, the Court ordered the parties to
   9   participate in early mediation before Magistrate Judge La Mothe in Santa
  10   Barbara. (Dkt No. 40.)
  11           Subsequently, multiple pre-settlement conference telephone calls were
  12   held between Magistrate Judge La Mothe and counsel for the County Defendants
  13   and Plaintiffs.1 (Dkt Nos. 49, 56.) On January 14, 2020, Magistrate Judge La
  14   Mothe conducted a first settlement conference with Plaintiffs and the County
  15   Defendants. The parties were unable to reach a mutually agreeable settlement at
  16   that time. However, Magistrate Judge La Mothe ordered the parties back for a
  17   second settlement conference. (Dkt Nos. 57.) Therefore, a second settlement
  18   conference was held on February 6, 2020. After another day of negotiations,
  19   Magistrate Judge La Mothe proposed a mediator’s compromise of $800,000 for
  20   the settlement of all claims against the County Defendants, which was ultimately
  21   accepted by both parties.
  22         Several factors confirm that this is a good faith settlement. First, Plaintiffs’
  23   claims are primarily for non-economic damages, which are difficult to quantify.
  24   Decedent was not employed at the time of the incident and had not provided
  25   Plaintiffs with financial support in several years. Rather, Decedent had an
  26   extensive criminal history and had been incarcerated multiple times for violent
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  28    Thus far, counsel for Defendant Green has not wished to be included, and thus,
       was not included, in the mediation efforts before Magistrate Judge La Mothe.
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Case 2:19-cv-04695-DMG-AGR Document 62 Filed 03/18/20 Page 8 of 9 Page ID #:324




   1   crimes, including acts of domestic violence. Decedent was a wanted parolee at
   2   the time of the incident. Furthermore, liability remains contested. Therefore, the
   3   resolution of this matter ensures that Plaintiffs will not walk away empty hand. In
   4   addition, given the early resolution of this matter, Plaintiffs have not yet
   5   generated considerable costs and attorney fees, and may avoid many of the
   6   difficulties and pressures of participating in contentious litigation.
   7         Moreover, Plaintiffs do not allege that the County Defendants were more
   8   responsible for Decedent’s death than California Highway Patrol Officer Brian
   9   Green, against whom Plaintiffs continue to maintain viable claims.
  10         Additionally, in being represented by the Law Offices of John L. Burris,
  11   Plaintiffs have been counseled through settlement by a law firm with substantial
  12   experience in the practice area of civil rights litigation. All three attorneys from
  13   the Law Offices of John L. Burris, including Mr. Burris himself, appeared at the
  14   second settlement conference, during which the settlement agreement was
  15   reached. Finally, the settlement between Plaintiffs and the County Defendants
  16   was not the result of any collusion or fraudulent conduct aimed at injuring
  17   Defendant Green. Rather, it was based on the fair value of Plaintiffs’ claims
  18   against the County Defendants and these parties’ desire to resolve the claims
  19   without suffering the substantial costs and fees associated with extensive
  20   litigation. As indicated, the fair value was reached after two days of mediation
  21   and the acceptance of a mediator’s compromise for the settlement of all claims
  22   against the County Defendants.
  23         Thus, there is overwhelming evidence that $800,000 is well within the
  24   range of a good faith settlement between the County Defendants and Plaintiffs.
  25   V.    CONCLUSION.
  26         Based upon the above, the County Defendants respectfully request that the
  27   Court grant this Application and enter an Order determining that the settlement
  28   between Defendants County of Ventura and Noel Juarez, and Plaintiffs Rose

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Case 2:19-cv-04695-DMG-AGR Document 62 Filed 03/18/20 Page 9 of 9 Page ID #:325




   1   Diaz, Dimas Diaz, Edith Diaz, Jesse Diaz, David Chase Diaz, and D.A.D., was
   2   made in good faith.
   3
   4   Dated: March 18, 2020             LAWRENCE BEACH ALLEN & CHOI, PC
   5
   6                                     By       /s/ Rocco Zambito, Jr.
   7                                              Rocco Zambito, Jr.
                                                  Attorneys for Defendants
   8                                              County of Ventura and Noel Juarez
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